                                             Case 2:24-cv-00369-CDS-NJK Document 6 Filed 03/08/24 Page 1 of 2


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                                             Nevada Bar No. 8852
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                                             Henderson, NV 89015
                                         4   Telephone: (702) 448-4962
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                                         5   rena@eclipselawgroup.com
                                         6   Attorney for Plaintiff

                                         7                                UNITED STATES DISTRICT COURT
                                         8                                       DISTRICT OF NEVADA
                                         9
                                             DANIEL VICTOR HANCOCK, an                ) CASE NO. : 2:24-cv-00369
                                        10                                            )
                                             individual,
                                                                                      )
Phone (702)448-4962 Fax (702)448-5011




                                        11                                            )
                                                          Plaintiff,                  )
     203 S. Water Street, Suite 300




                                        12                                            )   CERTIFICATE OF INTERESTED
       ECLIPSE LAW GROUP




                                                     vs.                                             PARTIES
         Henderson, NV 89015




                                                                                      )
                                        13                                            )
                                             JIMMY LOVRIEN, an individual,            )
                                        14
                                             DULUTH NEWS TRIBUNE, LLC, a              )
                                        15   Minnesota Limited Liability Company, and )
                                             ROE CORPORATIONS I through X,            )
                                        16   inclusive.                               )
                                                                                      )
                                        17                                            )

                                        18
                                                    The undersigned, attorney of record for DANIEL VICTOR HANCOCK, certifies that the
                                        19
                                        20   following may have a direct, pecuniary interest in the outcome of this case:

                                        21          DANIEL VICTOR HANCOCK
                                                    c/o Eclipse Law Group
                                        22          203 S. Water Street, Suite 300
                                        23          Henderson, NV 89015
                                                    Plaintiff
                                        24
                                                    JIMMY LOVRIEN
                                        25          424 W 1st St.
                                        26          Duluth, MN 55802
                                                    Defendant
                                        27
                                                    DULUTH NEWS TRIBUNE
                                        28          424 W 1st St.
                                                    Duluth, MN 55802
                                                    Defendant
     Case 2:24-cv-00369-CDS-NJK Document 6 Filed 03/08/24 Page 2 of 2


 1          These representations are made to enable judges of the court to evaluate possible
 2   disqualifications or recusal.
 3
 4
            DATED this 8th day of March 2024.
 5
 6
 7   ECLIPSE LAW GROUP
 8   /s/ Rena McDonald
 9   Rena McDonald, Esq.
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